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  CONNECTICUT BANKRUPTCY COURT
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        21-20687

        The Norwich Roman Catholic Diocesan Corporation




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        Case Number :                     21-20687
        Case Title :                      The Norwich Roman Catholic Diocesan Corporation
        Courtroom :                       United States Bankruptcy Court, 450 Main Street, 7, Hartford, CT
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